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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                                    AT LOUISVILLE
                                        3:16-cv-50-GNS
                              Case No. __________________

JANICE COLSTON, EXECUTRIX OF
THE ESTATE OF TOMMIE HAUGABOOK,
DECEASED                                                                          PLAINTIFF

v.

REGENCY NURSING, LLC                                                            DEFENDANT

                                  NOTICE OF REMOVAL

       Defendant, Regency Nursing, LLC, hereby removes to the United States District Court

for the Western District of Kentucky, Louisville Division, the action captioned Janice Colston,

Executrix of the Estate of Tommie Haugabook, Deceased, v. Regency Nursing, LLC, Case No.

16-CI-00028, which is currently pending in Jefferson Circuit Court, in the Commonwealth of

Kentucky. As grounds for removal of the Action, Defendant states:

       1.     On or about January 4, 2016, Janice Colston, in her capacity as Executrix of the

Estate of Tommie Haugabook, deceased, filed a Complaint in Jefferson County Circuit Court,

Case No. 16-CI-00028. Defendant, Regency Nursing, LLC, was served with a summons and a

copy of the Complaint on January 8, 2016, through its agent for service of process, CSC-

Lawyers Incorporating Service Company. Copies of all process and pleadings in said action are

attached hereto in accordance with 28 U.S.C. §1446(a).

       2.     Upon information and belief, Plaintiff is and was at all times relevant hereto,

including at the time of filing this Notice of Removal and at the commencement of Civil Action

No. 16-CI-00028, a citizen of the state of Kentucky.

       3.     Defendant, Regency Nursing, LLC, at all times relevant hereto, including at the

time of filing this Notice of Removal and at the commencement of Civil Action No. 16-CI-
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00028, is a foreign limited liability company organized under the laws of the state of Delaware

with a principal place of business in Pennsylvania.

       7.      Due to the allegations raised in the Complaint attached hereto, Defendant believes

that Plaintiff seeks in excess of $75,000.00 in damages, exclusive of interest and costs.

       8.      This action is one over which this Court has original jurisdiction pursuant to the

provisions of 28 U.S.C. §1332(a)(1) and is one that may be removed to this Court pursuant to 28

U.S.C. §1441(a). This is an action between citizens of different states.

       9.      This Notice of Removal is filed within thirty (30) days after Defendant received a

copy of Plaintiff’s Complaint, as required by 28 U.S.C. §1446(b).

       10.     A copy of this Notice of Removal will be filed with the Clerk for the Jefferson

Circuit Court, in the Commonwealth of Kentucky and served upon other counsel of record.

                                              Respectfully submitted,

                                              GWIN STEINMETZ & BAIRD, PLLC


                                              /s/ Michael F. Sutton
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                                              David L. Haney
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                                              One Riverfront Plaza
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                                              Counsel for Defendant, Regency Nursing, LLC




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                                CERTIFICATE OF SERVICE

    I hereby certify that on January 27, 2016, I electronically filed the foregoing with the Clerk
of the Court by using the CM/ECF system, which will send a notice of electronic filing to the
following:

Jeffrey T. Sampson
THE SAMPSON LAW FIRM
450 South Third Street, 4th Floor
Louisville, Kentucky 40202
Telephone: (502) 584-5050
Counsel for Plaintiff


                                             /s/ Michael F. Sutton
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